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                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

   MARK PANNEK, et al.,                          )
                                                 )   Civil Action No. 1:19-cv-00852
                 Plaintiff,                      )
                                                 )   Judge Timothy S. Black
          v.                                     )
                                                 )   DEFENDANT’S OBJECTIONS AND
   U.S. BANK NATIONAL                            )   RESPONSES TO PLAINTIFFS’ FIRST
   ASSOCIATION,                                  )   REQUESTS FOR ADMISSIONS,
                                                 )   INTERROGATORIES AND REQUESTS
                 Defendant.                      )   FOR PRODUCTION OF DOCUMENTS
                                                 )   PROPOUNDED TO U.S. BANK

        Defendant U.S. Bank National Association (“Defendant” or “U.S. Bank”), for its

 objections and responses to Plaintiff’s First Requests for Admissions, Interrogatories and

 Requests for Production of Documents Propounded to U.S. Bank, states as follows:

                         GENERAL ANSWERS AND RESPONSES
                        GENERAL OBJECTIONS AND CONDITIONS

        1.      These general answers and responses, general objections, and conditions are

 incorporated by reference, as if fully stated herein, with respect to each and every response to

 each and every interrogatory and request (collectively, “discovery requests”) contained herein.

        2.      Discovery in this matter is not yet complete.       Given the stage of litigation,

 Defendant fully reserves the right to alter, amend, modify, or otherwise revise these responses if,

 for any reason, such revisions become appropriate or warranted.

        3.      Defendant objects to Plaintiff’s discovery requests to the extent that they seek

 information or documents that are subject to the attorney-client privilege, work-product

 immunity, or are otherwise privileged or immune from discovery. No such information and/or

 documents will be produced. Moreover, Defendant does not intend by these responses or its

 document production to waive any claim of privilege or immunity. If Defendant produces any
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 Defendant objects to this Request on the grounds that the phrase “kept on” is vague and
 ambiguous. Subject to and without waiving the foregoing objection, and to the extent
 Defendant understands this Request, Defendant will produce Plaintiffs’ personnel files.

 10.    Job descriptions for any and all positions held by Plaintiffs while employed at US Bank.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is overly broad. Subject to and
 without waiving the foregoing objection, Defendant will produce the job description(s) for
 the positions Plaintiffs held at the time of their terminations.

 11.    All documents which relate to or support Defendant’s decision to terminate Plaintiffs.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is vague, overly broad and unduly
 burdensome as to the phrase “relate to,” as it does not identify with reasonable
 particularity the documents requested. Subject to and without waiving the foregoing
 objections, and to the extent that Defendant understands this Request, Defendant will
 produce non-privileged, documents that were used to support Defendant’s decision to
 terminate Plaintiffs.

 12.    All documents submitted to the persons making the decision to terminate Plaintiffs

 pertaining to the reason to terminate the Plaintiffs.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is vague and overly broad and
 vague as to the phrases “submitted to” and “pertaining to.” Subject to and without
 waiving the foregoing objections and to the extent Defendant understands the request, see
 response to Request 11.

 13.    All documents relating to the decision to terminate the Plaintiffs that were prepared by

 the decision maker(s), any management personnel, or anyone involved in the decision to

 terminate Plaintiffs.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is vague, overly broad and unduly
 burdensome as to the phrase “relating to,” as it does not identify with reasonable
 particularity the documents requested. Subject to and without waiving the foregoing
 objections, Defendant will produce non-privileged documents reflecting the decision to



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 terminate that were prepared by the decision maker or anyone involved in the decision to
 terminate Plaintiffs.

 14.    All performance appraisals prepared by Defendant regarding Plaintiffs’ work.

 RESPONSE:

 Defendant will produce any responsive, non-privileged documents.


 15.    All documents and communication which reflects awards, commendations or other

 positive notations concerning Plaintiffs’ performance of their work.

 RESPONSE:

 Defendant will produce any responsive, non-privileged documents.


 16.    All documents related to the Plaintiff Strotman’s Legends of Possible Award, including,

 but not limited to, any nominations for the award, production numbers which resulted in the

 award, or any other documents which relate to or support the award.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is vague, overly broad and unduly
 burdensome as to the phrase “related to,” as it does not identify with reasonable
 particularity the documents requested. Subject to and without waiving the foregoing
 objections, Defendant will produce any nominations for the award or other documents
 which identify the reason for the award.


 17.    All documents reviewed by the peer analysis group in its decision to select Pannek over

 Alyson Roberts for termination.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is vague and ambiguous as to the
 phrase “peer analysis group.” To the extent Defendant understands the request, none.

 18.    All employment contracts between Plaintiffs and Defendant at any time during, or in

 effect after their employment with US Bank.



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 30.     All documents relating to the decision to terminate Gemrich that were created by the

 decision maker(s), any management personnel, or anyone involved in the decision.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is vague, overly broad and unduly
 burdensome as to the phrase “relating to,” as it does not identify with reasonable
 particularity the documents requested.


 31.     Copies of any severance or separation agreement signed by Gemrich.

 RESPONSE:

 None.


 32.     Personnel files for any other individual who was identified as a decision maker with

 respect to Plaintiffs’ termination.

 RESPONSE:


 Defendant objects to this Request on the grounds that it is overly broad and seeks
 documents that are neither relevant nor proportionate to the needs of the case. Defendant
 further objects to this Request on the grounds that it is vague and ambiguous as to the term
 “other.” Defendant further objects to this Request on the grounds that it seeks confidential
 and/or medical information relating to an individual who is not a party to this action.


 33.     Personnel files for any other individual who was terminated from US Bank’s Lending

 Services and Mortgage Services Divisions as a result of the 2017 or 2018 reorganizations,

 including but not limited to disciplinary actions, performance reviews, and reasons for

 termination.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is overly broad and seeks
 documents that are neither relevant nor proportionate to the needs of the case. Defendant



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 further objects to this Request on the grounds that it seeks confidential and/or medical
 information relating to an individual who is not a party to this action.


 34.    All personnel files which are kept by Defendant regarding Alyson Roberts, including, but

 not limited to her personnel file, any file kept by her supervisor, manager, or any other individual

 employed by Defendant.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is overly broad and seeks
 documents that are neither relevant nor proportionate to the needs of the case. Defendant
 further objects to this Request on the grounds that it seeks confidential and/or medical
 information relating to an individual who is not a party to this action.


 35.    All personnel files which are kept by Defendant regarding Bryan Bolton, including, but

 not limited to his personnel file, any file kept by his supervisor, manager, or any other individual

 employed by Defendant.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is overly broad and seeks
 documents that are neither relevant nor proportionate to the needs of the case. Defendant
 further objects to this Request on the grounds that it seeks confidential and/or medical
 information relating to an individual who is not a party to this action.


 36.    All personnel files which are kept by Defendant regarding David Little, including, but not

 limited to his personnel file, any file kept by his supervisor, manager, or any other individual

 employed by Defendant.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is overly broad and seeks
 documents that are neither relevant nor proportionate to the needs of the case. Defendant
 further objects to this Request on the grounds that it seeks confidential and/or medical
 information relating to an individual who is not a party to this action.




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 46.     All correspondence from Gemrich to others on his team, including any e-mail

 correspondence, which reference Annette Tatman in a negative way.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is overly broad and seeks
 documents that are neither relevant nor proportionate to the needs of the case. Defendant
 further objects to this Request on the grounds that it is vague and ambiguous as to the
 phrases “his team” and “negative way.”

 47.     All complaints filed by Lydia Buster against Gemrich, whether on behalf of herself or

 any other employee of US Bank.

 RESPONSE:

 Defendant is not aware of any responsive documents.

 48.     Documents used by Defendant for selecting Plaintiffs for termination due to the alleged

 reorganization.

 RESPONSE:

 Defendant will produce any responsive, non-privileged documents.

 49.     Documents pertaining to the hiring of individuals who replaced Plaintiffs’ former

 positions with US Bank and their qualifications.

 RESPONSE:

 None.

 50.     Correspondence between Bolton and Diane Watson regarding Pannek’s ethics complaint,

 the complaints or allegations against Gemrich, and any investigations into the same.

 RESPONSE:

 Defendant objects to this Request on the grounds that it is overly broad in that it is not
 limited in time. Defendant further objects to this Request on the grounds that it is vague
 and ambiguous as to the phrase “the complaints or allegations against Gemrich.” Subject
 to and without waiving the foregoing objections, Defendant responds as follows: Defendant



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                                             As to objections,

                                             /s/ Patricia Pryor
                                             Patricia Pryor (0069545)
                                             Jamie M. Goetz-Anderson (0083562)
                                             Jackson Lewis P.C.
                                             201 E. Fifth Street, 26th Floor
                                             Cincinnati, Ohio 45202
                                             Telephone: (513) 322-5035
                                             Fax: (513) 898-0051
                                             Email: pryorp@jacksonlewis.com
                                             Email: jamie.goetz-anderson@jacksonlewis.com

                                             Counsel for Defendant U.S. Bank National
                                             Association




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                                 CERTIFICATE OF SERVICE

         The undersigned does hereby certify that the foregoing Defendant’s Objections and
  Responses to Plaintiffs’ First Set of Requests for Admissions, Interrogatories and Requests for
  the Production of Documents Directed to Defendant US Bank were sent via e-mail this 8th day of
  June, 2020 to:

  Peter A. Saba, Esq.
  Joshua M. Smith, Esq.
  STAGNARO, SABA & PATTERSON, CO., L.P.A.
  2623 Erie Avenue
  Cincinnati, Ohio 45208
  pas@sspfirm.com
  jms@sspfirm.com

  Attorney for Plaintiff

                                                     /s/ Patricia Pryor
                                                     Patricia Pryor




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   Joshua M. Smith, Esq.                                                             Phone: (513) 533-6715
   Email: jms@sspfirm.com                                                              Fax: (513) 533-2999

                                             August 12, 2020

  VIA ELECTRONIC MAIL
  Patricia Pryor
  Jamie M. Goetz-Anderson
  pryorp@jacksonlewis.com
  Jamie.goetz-anderson@jacksonlewis.com
  Jackson Lewis P.C.
  201 E. Fifth Street, 26th Floor
  Cincinnati, Ohio 45202

                   Re:      Mark Pannek, et al. v. U.S. Bank National Association

  Dear Patricia and Jamie,

          We have reviewed your client’s responses and objections to Plaintiffs’ First Set of Requests
  for Admission, Interrogatories, and Requests for Production of Documents. Unfortunately, while
  some responses were provided and documents were produced, a number of our requests remain
  deficient. In particular, there are a number of Interrogatories which only contain partial responses,
  and/or were not responded to at all. Further, production of various documents were withheld based
  upon objections which are simply not meritorious under the scope of discovery of Rule 26.

           We are outlining these specific deficiencies below. As soon as possible please review the
  below and confirm that US Bank will produce the requested responses and/or documents, or let us
  know an agreeable time to discuss the same. We ask that you please get back to us no later than close
  of business August 21, 2020. This correspondence is being sent in an extrajudicial effort to resolve
  this discovery dispute without Court intervention.


                                         INTERROGATORIES

  Interrogatory No. 2: Identify all individuals who were involved in the decision to terminate Plaintiffs,
  specifically identifying the individuals who made the decision, and any individuals who recommended
  that Plaintiffs be terminated.

  You responded that “Bryan Bolton made the decision to eliminate Plaintiffs’ positions.” This response
  only partially answers the interrogatory. In particular, it fails to identify any other individuals who
  were involved in the decision, and any individuals who made recommendations that Plaintiffs be
  selected for termination.
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  Interrogatory No. 7: Identify each direct supervisor of Plaintiffs from Plaintiffs’ respective points
  of hire until their respective dates of termination. For each supervisor identified, provide the
  position(s) held and dates in which they were a supervisor for Plaintiffs.

  You responded that “Plaintiffs’ direct supervisor at the time of their termination was Bryan
  Bolton.” This response only partially answers the interrogatory. In particular, it fails to identify
  direct supervisors of Plaintiffs prior to the time of their termination, including from their respective
  points of hire until the time that Mr. Bolton became their direct supervisor. Further, you have failed
  to identify the position(s) held by each direct supervisor and the dates in which they were a
  supervisor for Plaintiffs.

  Interrogatory No. 8: Identify all employees of US Bank’s Lending Services and Mortgage Services
  Divisions who have filed charges with the Ohio Civil Rights Commission or the EEOC since January
  1, 2016, identifying the individual who filed the charge, the date of filing, and the allegation in the
  charge.

  You objected, claiming that the interrogatory is overly broad, unduly burdensome, and seeks
  information neither relevant nor proportionate to the needs of the case. You then refused to produce
  any response.

  We disagree with your objection. Prior acts of discrimination or retaliation, particularly in Plaintiffs’
  same division, are relevant to Plaintiffs’ claims of discrimination and retaliation. See, e.g., Estes v.
  Dick Smith Ford, Inc., 856 F.2d 1097 (8th Cir. 1988)(“Circumstantial proof of discrimination
  typically includes unflattering testimony about the employer’s history and work practices-evidence
  which in other kinds of cases may well unfairly prejudice the jury against the defendant. In
  discrimination cases, however, such background evidence may be critical for the jury’s assessment
  of whether a given employer was more likely than not to have acted from an unlawful motive.”).
  Charges filed with the EEOC or OCRC by Plaintiffs’ co-workers in their division meet the liberal
  standards of Fed. R. Civ. P. 26, and thus are discoverable. Please produce responses, or otherwise
  confirm that US Bank does not intend to do so such that we can seek Court intervention.

  Interrogatory No. 9: Identify all employees of US Bank’s Lunken location or the Lending Services
  and Mortgage Services Divisions of US Bank who have contacted the Ethics line since January 1,
  2016, identifying the individual who contacted the Ethics line, the date of the call/correspondence,
  the subject of the call/correspondence, whether an investigation was conducted, and the person(s)
  conducting the investigation.

  You objected, claiming the interrogatory is overly broad, unduly burdensome, and seeks information
  that is neither relevant nor proportionate to the needs of the case. You also claim that the request may
  seek confidential, private information about individuals who are not parties to the case. You then
  refused to produce any response.

  We disagree with your objection. As you know, Mr. Pannek alleged he contacted the same Ethics
  line, and was retaliated against for his complaint. As set forth above, prior acts of US Bank with
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  respect to individuals who contacted the Ethics line are particularly relevant to this claim. Moreover,
  it is also an avenue to discover other individuals whom complained about sexual harassment by Mr.
  Gemrich, or about discrimination or retaliation by US Bank. Please produce responses, or otherwise
  confirm that US Bank does not intend to do so such that we can seek Court intervention. To the extent
  US Bank needs to protect the confidentiality of such individuals, we are amenable to an agreed
  protective order for this purpose.

  Interrogatory No. 10: Identify all individuals other than Plaintiffs that complained or made
  allegations, whether formal or informal, and whether individually or in conjunction with an
  internal investigation, regarding Gemrich to US Bank, including but not limited to complaints or
  allegations of sexual harassment, inappropriate comments toward women, sex discrimination,
  hostile work environment, or retaliation. For each individual identified, provide the substance of
  the complaints/allegations, the date the individual complained, to whom the complaint was made,
  and, if any investigation was performed, the names of the persons conducting the investigation and
  the results of such investigation.

  You objected, claiming that the interrogatory is overly broad, seeks information that is neither
  relevant nor proportionate to the needs of the case. You also claim that this request is vague and
  ambiguous as to the phrase “formal or informal.” You then refused to produce any response.

  We disagree with your objection. Prior complaints regarding Mr. Gemrich are clearly relevant to
  this case, given the allegation that Mr. Pannek and Mr. Strotman both complained about Mr.
  Gemrich’s conduct, and that they were retaliated against for such complaints and participating in
  an investigation into the same. Please produce responses, or otherwise confirm that US Bank does
  not intend to do so such that we can seek Court intervention.

  Interrogatory No. 12: Identify the date on which US Bank decided that Plaintiffs Pannek and
  Strotman would be terminated as part of an alleged reorganization.

  You responded that “Defendant is currently unable to identify the precise date upon which the
  decision was made to eliminate Plaintiffs’ positions.” This only answers the interrogatory in part. As
  set forth in our Instruction No. 2, if US Bank cannot answer a particularly interrogatory in full after
  exercising due diligence to secure the information to do so, Defendant shall so state and shall answer
  in as detailed a manner as possible…”

  To the extent that US Bank cannot provide a “precise” date, Plaintiffs’ instruction calls for US Bank
  to provide a date in as detailed a manner as possible. We note that US Bank’s position statement, filed
  with the EEOC on September 12, 2018, states that “[d]iscussions regarding related job eliminations
  began in February 2018, and final recommendations were made in early May 2018.” To the extent
  this statement remains consistent, please confirm “early May 2018” as the approximate date that US
  Bank decided that Plaintiffs Pannek and Strotman would be terminated as part of an alleged
  reorganization.
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  Interrogatory No. 15: Identify all individuals at US Bank who had any involvement in the
  reorganization of US Bank’s Lending Services and Mortgage Servicing Divisions in 2018. For
  each individual identified, state the position held at US Bank, and a summary of their involvement
  in the reorganization.

  You objected, claiming that the interrogatory is overly broad, unduly burdensome, and seeks
  information that is neither relevant nor proportionate to the needs of the case. You also objected
  to the phrase “any involvement,” claiming it is vague and ambiguous. You then refused to provide
  any response.

  We disagree with your objection. The alleged reorganization of US Bank’s Lending Services and
  Mortgage Servicing Divisions in 2018 is the claimed basis by US Bank’s decision to terminate
  Plaintiffs. Individuals involved in that reorganization are clearly relevant to Plaintiffs’ claims of
  discrimination and retaliation. Please produce responses, or otherwise confirm that US Bank does
  not intend to do so such that we can seek Court intervention.

  Interrogatory No. 16: State whether Gemrich remains employed with US Bank and, if Gemrich is not
  still employed, the basis for his separation from employment.

  You objected, claiming that the interrogatory seeks information that is neither relevant nor
  proportionate to the needs of the case. You then answered the interrogatory, in part, (stating “no”),
  but did not provide the basis for Mr. Gemrich’s separation from employment.

  We disagree with your objection. Mr. Gemrich is the individual whom Mr. Pannek alleges he
  complained about regarding sexual harassment and creating a hostile work environment. Mr.
  Strotman similarly complained, and participated in an investigation into this conduct. Both Plaintiffs
  alleg they were retaliated against for complaining about Mr. Gemrich and participating in the
  investigation. Clearly, Mr. Gemrich’s termination and the basis for the same are relevant to these
  claims. Please produce responses, or otherwise confirm that US Bank does not intend to do so such
  that we can seek Court intervention.


                        REQUEST FOR PRODUCTION OF DOCUMENTS


  Request for Production No. 5: All correspondence between Bolton and Gemrich regarding the 2018
  reorganization, including but not limited to e-mail correspondence, instant messages, draft proposals,
  notes, or any other communications.

  You objected, but indicated you would produce any non-privileged correspondence between Bolton
  and Gemrich “regarding Plaintiffs’ roles following the 2018 reorganization.” Your response only
  answers the request in part. The request seeks all correspondence between Bolton and Gemrich
  regarding the 2018 reorganization, not correspondence “regarding Plaintiffs’ roles.” Please produce
  the responsive documents including all correspondence between Bolton and Gemrich. To the extent
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  you are refusing to produce responsive documents, please inform us of the same so that we can seek
  Court intervention.

  Request for Production No. 10: Job descriptions for any and all positions held by Plaintiffs while
  employed by US Bank.

  You objected, but indicated Defendant “will produce the job description(s) for the positions Plaintiffs
  held at the time of their terminations. Your response only answers the request in part. The request
  seeks job descriptions for any and all positions held by Plaintiffs “while employed by US Bank,” not
  simply the positions held at the time of their terminations. Please produce the responsive documents.
  To the extent you are refusing to produce responsive documents, please inform us of the same so that
  we can seek Court intervention.

  Request for Production No. 20: Correspondence between Bolton and Gemrich which in any way
  relate to the decision or recommendation to eliminate Pannek or Strotman.

  You objected to this request, but indicated Defendant “will produce any non-privileged
  correspondence between Bolton and Gemrich regarding Plaintiffs’ roles following the 2018
  reorganization.” Your response only answers the request in part. The request seeks correspondence
  between Bolton and Gemrich which in any way relates to the decision or recommendation to eliminate
  Pannek or Strotman. Your response only indicates that you will produce correspondence regarding
  “Plaintiffs’ roles following the 2018 reorganization.” Please produce the responsive documents,
  including correspondence relating to the decision or recommendation to eliminate Plaintiffs, beyond
  what has already been produced. To the extent you are refusing to produce responsive documents,
  please inform us of the same so that we can seek Court intervention.

  Request for Production No. 23: All personnel files which are kept by Defendant regarding Gemrich,
  including, but not limited to his personnel file, any file kept by his supervisor, manager, or any other
  individual employed by Defendant.

  You objected to this request, claiming that it is overly broad and seeks documents that are neither
  relevant nor proportionate to the needs of the case. You also claim that the request seeks confidential
  and/or medical information relating to an individual who is not a party to this action.

  We disagree with the objection. Mr. Gemrich is the individual whom Pannek and Strotman have
  alleged engaged in inappropriate behavior, creating a hostile work environment. Pannek filed a
  complaint with US Bank regarding Mr. Gemrich’s inappropriate behavior, and Strotman both
  complained and participated in an investigation into Mr. Gemrich’s inappropriate behavior. Mr.
  Gemrich’s personnel file is clearly relevant to these claims, including any prior complaints,
  reprimands by US Bank, or investigations into prior or subsequent inappropriate behavior by Mr.
  Gemrich.

  Please produce the responsive documents. To the extent you are refusing to produce responsive
  documents, please inform us of the same so that we can seek Court intervention.
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  Request for Production No. 25: All documents which in any way reference disciplinary action that
  US Bank took or considered taking with respect to Gemrich that are not included in his personnel
  file.

  You objected to the request, but indicated Defendant “will produce any discipline that Gemrich
  received during the relevant period.” To be clear, “relevant” period includes, at a minimum, the period
  of time that Gemrich was employed by US Bank up to the point of his termination. This includes the
  period that Plaintiffs were employed, through the present. Please produce responsive documents. To
  the extent you are refusing to produce responsive documents, please inform us of the same so that we
  can seek court intervention.

  Request for Production No. 26: All documents pertaining to Defendant’s investigation of, or
  response to, complaints regarding Gemrich, including but not limited to the investigation initiated as
  a result of Plaintiff Pannek’s complaints regarding Gemrich, or the complaints of any other employee
  against Gemrich.

  You objected to the request, but indicated you would produce “non-privileged documents reflecting
  its investigation of Pannek’s March 27, 2018 report to the Ethics and Compliance Hotline.”

  To be clear, the request does not only seek documents regarding Pannek’s complaint. It also seeks
  documentation regarding any other employee’s complaints against Gemrich. Such documents are
  clearly relevant, given that prior acts of discrimination, harassment, or retaliation similar to Plaintiffs’
  are admissible evidence in Plaintiff’s case. Please produce responsive documents. To the extent you
  are refusing to produce responsive documents, please inform us of the same so that we can seek Court
  intervention.

  Request for Production No. 27: Copies of all correspondence, emails, and other documents that were
  generated as a result of complaints to US Bank regarding Gemrich.

  You objected to the request, but indicated you would produce “non-privileged correspondence
  generated in response to Pannek’s March 27, 2018 report to the Ethics and Compliance Hotline.”

  Again, this request seeks not only documents regarding Pannek’s complaint, but also any other
  correspondence, emails, and other documents generated as a result of complaints to US Bank
  regarding Gemrich. Please produce responsive documents. To the extent you are refusing to produce
  responsive documents, please inform us of the same so that we can seek Court intervention.

  Request for Production No. 28: All documents which relate to the reason that Gemrich is no longer
  employed with US Bank.

  You objected to this request, claiming that it is vague, overly broad, and unduly burdensome as to the
  phrase “relate to”, as it does not identify with reasonable particularity the documents requested. You
  also claim that it seeks information neither relevant nor proportionate to the needs of the case. Finally,
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  you claim the request seeks documents protected by the attorney-client and/or work produce
  privileges. You then refused to produce any documents.

  Clearly, documents relating to Mr. Gemrich’s termination from US Bank, which occurred after Mr.
  Pannek’s complaint regarding Mr. Gemrich’s inappropriate conduct (and both Plaintiffs’ participation
  in investigations into the same) are relevant. We also disagree that this request fails to identify the
  documents with “reasonable particularity.” The documents would clearly include any documents,
  correspondence, etc. as to why Mr. Gemrich was terminated or otherwise resigned, and the basis for
  such termination/resignation. Please produce responsive, non-privileged documents. To the extent
  you are refusing to produce responsive documents, please inform us of the same so that we can seek
  Court intervention.

  Request for Production No. 29: All documents submitted to persons making or participating in the
  decision to terminate Gemrich.

  You objected to this request, on substantially the same basis as Request No. 28. Again, we disagree
  with your objections for the same reasons. Please produce responsive documents. To the extent you
  are refusing to produce responsive documents, please inform us of the same so that we can seek Court
  intervention.

  Request for Production No. 30: All documents relating to the decision to terminate Gemrich that
  were created by the decision maker(s), any management personnel, or anyone involved in the
  decision.

  You objected to this request, claiming that it is vague, overly broad, and unduly burdensome as to the
  phrase “relating to,” claiming it does not identify with reasonable particularity the documents
  requested. You then refused to produce any documents in response.

  We disagree with your objection. Documents “relating to” the decision to terminate Gemrich are
  easily understood, especially given that they are limited to documents created by the decision
  maker(s), management personnel, or anyone involved in the decision. They would include, but not be
  limited to, any documents created regarding the basis for termination, documents which decision
  maker(s) relied upon in terminating Gemrich, any prior written warnings or disciplinary actions, or
  any documents setting forth the reason for termination. Please produce responsive documents. To the
  extent you are refusing to produce responsive documents, please inform us of the same so that we can
  seek Court intervention.

  Request for Production No. 32: Personnel files for any other individual who was identified as a
  decision maker with respect to Plaintiffs’ termination.

  You objected, claiming the request is overly broad and seeks documents that are neither relevant nor
  proportionate to the needs of the case. You also claim the term “other” in “other individual” is vague
  and ambiguous. Finally, you claim that the request seeks confidential and/or medical information
  relating to an individual who is not a party to this action.
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  We disagree with your objection. Plaintiffs are alleging retaliation for their complaints of
  discrimination and harassment, and participation in investigations into the same. The personnel files
  of decisionmaker(s) who allegedly engaged in retaliation (including Mr. Bolton) are clearly relevant
  to confirming any prior acts of retaliation or complaints against such decisionmakers for the same.
  Please produce responsive documents. To the extent you are refusing to produce responsive
  documents, please inform us of the same so that we can seek Court intervention.

  Request for Production No. 33: Personnel files for any other individual who was terminated from
  US Bank’s Lending Services and Mortgage Services Divisions as a result of the 2017 or 2018
  reorganizations, including but not limited to disciplinary actions, performance reviews, and reasons
  for termination.

  You objected, claiming the request is overly broad and seeks documents that are neither relevant nor
  proportionate to the needs of the case. You also claim that the request seeks confidential and/or
  medical information relating to an individual who is not a party to this action.

  We disagree with your objection. Plaintiffs were allegedly terminated as part of a reorganization of
  their divisions. Information regarding other individuals who were terminated in similar circumstances
  (i.e., as a result of 2017 or 2018 reorganizations) is clearly relevant to their claims, including
  individuals who similarly complained of harassment or discrimination. Please produce responsive
  documents. To the extent you are refusing to produce responsive documents, please inform us of the
  same so that we can seek Court intervention.

  Finally, to the extent US Bank seeks an agreed protective order regarding such responsive documents,
  Plaintiffs are amenable to the same. Moreover, to clarify, Plaintiffs are not interested in any
  documents related to medical information of such individuals.

  Request for Production No. 34: All personnel files which are kept by Defendant regarding Alyson
  Roberts, including, but not limited to her personnel file, any file kept by her supervisor, or any other
  individual employed by Defendant.

  You objected to this request, claiming that it is overly broad and seeks documents that are neither
  relevant nor proportionate to the needs of the case. You also claim that the request seeks confidential
  and/or medical information relating to an individual who is not a party to this action. You refused to
  produce any documents in response.

  We disagree with your objection. Ms. Roberts was the individual who was retained over Mr. Pannek
  when he was purportedly selected over termination (a clear comparator). Personnel and other files
  related to Ms. Roberts, including those containing her resume, performance reviews, and other
  information related to her work at US Bank and prior are clearly relevant to this case. Please produce
  responsive documents. To the extent you are refusing to produce responsive documents, please inform
  us of the same so that we can seek Court intervention.
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  Finally, to the extent US Bank seeks an agreed protective order regarding such responsive documents,
  Plaintiffs are amenable to the same. Moreover, to clarify, Plaintiffs are not interested in any
  documents related to medical information of Ms. Roberts.

  Request for Production No. 35: All personnel files which are kept by Defendant regarding Bryan
  Bolton, including, but not limited to his personnel file, any file kept by his supervisor, manager, or
  any other individual employed by Defendant.

  You objected to this request, claiming that it is overly broad and seeks documents that are neither
  relevant nor proportionate to the needs of the case. You also claim that the request seeks confidential
  and/or medical information relating to an individual who is not a party to this action. You refused to
  produce any documents in response.

  We disagree with your objection. Mr. Bolton is the individual identified by US Bank as the
  decisionmaker regarding Mr. Pannek and Mr. Strotman’s respective terminations. He is also the
  individual US Bank has identified as the direct supervisor of Plaintiffs at the time of their terminations.
  Clearly, his personnel file, including performance reviews, prior complaints, or any information
  regarding Mr. Bolton’s treatment of employees is relevant to this case. Please produce responsive
  documents. To the extent you are refusing to produce responsive documents, please inform us of the
  same so that we can seek Court intervention.

  Finally, to the extent US Bank seeks an agreed protective order regarding such responsive documents,
  Plaintiffs are amenable to the same. Moreover, to clarify, Plaintiffs are not interested in any
  documents related to medical information of Mr. Bolton.

  Request for Production No. 37: Documents relating to any EEOC or OCRC charges of sexual
  harassment, sex discrimination, retaliation, hostile work environment, age discrimination, and/or
  Gemrich filed by employees within the Lending Services and Mortgage Services Divisions of US
  Bank from January 1, 2016 to present, including, but not limited to, a copy of the charge, all
  communications between US Bank and the EEOC or OCRC, the EEOC or OCRC file to the extent
  Defendant has possession of the file, and any documents pertaining to US Bank’s investigation of
  the charge.

  You objected, claiming that the request is vague, overly broad, and unduly burdensome. You also
  claim that the request seeks documents that are neither relevant nor proportionate to the needs of
  the case. You responded in part, stating that “other than those filed by Plaintiffs, Defendant is not
  aware of any other EEOC or OCRC charge concerning Gemrich.”

  To be clear, our request relates to any charges of sexual harassment, sex discrimination, retaliation,
  hostile work environment, age discrimination, and/or Gemrich filed by employees within
  Plaintiffs’ divisions. Such documents of prior discriminatory claims on the same basis as Plaintiffs’
  are clearly relevant to this case. See, e.g., Estes v. Dick Smith Ford, Inc., 856 F.2d 1097 (8th Cir.
  1988)(“Circumstantial proof of discrimination typically includes unflattering testimony about the
  employer’s history and work practices-evidence which in other kinds of cases may well unfairly
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  prejudice the jury against the defendant. In discrimination cases, however, such background evidence
  may be critical for the jury’s assessment of whether a given employer was more likely than not to
  have acted from an unlawful motive.”).

  Please produce responsive documents. To the extent you are refusing to produce responsive
  documents, please inform us of the same so that we can seek Court intervention.

  Request for Production No. 38: Documents or communications sent to the US Bank Ethics line by
  employees in the Lending Services and Mortgage Services Divisions of US Bank from January 1,
  2016 to the present which relate to sexual harassment, sex discrimination, retaliation, hostile work
  environment, age discrimination, and/or to Gemrich.

  You objected to this request, claiming it is vague, overly broad and unduly burdensome, and that
  it seeks documents that are neither relevant nor proportionate to the needs of the case. You did not
  produce any responsive documents.

  We disagree with your objection. Documentation of other employees’ complaints to the US Bank
  Ethics line are clearly relevant to this case, given that this is the same Ethics line which Mr. Pannek
  complained to, and which he alleges served as the basis for his termination. Please produce
  responsive documents. To the extent you are refusing to produce responsive documents, please
  inform us of the same so that we can seek Court intervention.

  Request for Production No. 39: Documents or communications containing complaints of sexual
  harassment, sex discrimination, , inappropriate comments toward women, retaliation, hostile work
  environment, age discrimination, and/or Gemrich which were sent to US Bank by employees of the
  Lending Services and Mortgage Services Division from January 1, 2016 to the present.

  You objected to this request, claiming it is overly broad and seeks documents that are neither
  relevant nor proportionate to the needs of the case. You refused to produce any documents in
  response.

  We disagree with your objection. Documentation of complaints of this nature are clearly relevant
  to Plaintiffs’ allegations in this case. In particular, such complaints tend to show a pattern or
  practice by US Bank of discrimination and/or retaliation. That is especially the case where such
  complaints are related to Mr. Gemrich’s inappropriate conduct. Please produce responsive
  documents. To the extent you are refusing to produce responsive documents, please inform us of the
  same so that we can seek Court intervention.

  Request for Production No. 40: All Documents pertaining to any investigation undertaken by
  Defendant regarding the EEOC/OCRC, Ethics line, or internal US Bank complaints involving
  John Gemrich, sexual harassment, inappropriate comments toward women, sex discrimination,
  hostile work environment, age discrimination, and/or retaliation raised by employees at US Bank
  Lunken location or the Lending Services Division from January 1, 2016 to the present.
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  You objected to this request, claiming it is vague, overly broad, unduly burdensome, and seeks
  documents neither relevant nor proportionate to the needs of the case. You also claim that the
  request seeks documents protected by the attorney-client and/or work-product privileges. In further
  responding, you referenced us to documents produced in response to Request No. 26.

  To clarify, this request seeks more than documents pertaining to the investigation of Mr. Gemrich
  in response to Mr. Pannek’s March 27, 2018 report. The request seeks documents pertaining to
  any investigation undertaken by US Bank regarding the EEOC/OCRC, Ethics line, or internal US
  Bank complaints regarding Gemrich, sexual harassment, inappropriate comments toward women,
  sex discrimination, hostile work environment, age discrimination, and/or retaliation by employees
  in Plaintiffs’ division from 2016 to the present. Please produce responsive documents. To the extent
  you are refusing to produce responsive documents, please inform us of the same so that we can seek
  Court intervention.

  Request for Production No. 42: Call transcripts, recordings, notes, or other documents or materials
  created or maintained as a result of Pannek’s calls to US Bank’s Ethics hotline, including but not
  limited to Complaint # 127146408 and # 126735101.

  You responded that Defendant will produce call transcripts, recordings or notes of Pannek’s March
  27, 2018 report to the Ethics and Compliance Hotline. First, while we see notes and various other
  documents were produced related to Pannek’s March 27, 2018 report, upon review we do not see any
  transcripts or recordings of the call. Please produce the same, to the extent they exist.

  Request for Production No. 46: All correspondence from Gemrich to others on his team, including
  any e-mail correspondence, which reference Annette Tatman in a negative way.

  You objected to this request, claiming that it is overly broad and seeks documents that are neither
  relevant nor proportionate to the needs of the case. You also claim that the request is vague and
  ambiguous.

  We disagree with your objection. To clarify however, Plaintiffs are seeking the e-mail correspondence
  which, as referenced in Ms. Buster’s file, was sent berating Ms. Tatman and for which a complaint
  was filed. Please produce responsive documents. To the extent you are refusing to produce responsive
  documents, please inform us of the same so that we can seek Court intervention.

  Request for Production No. 50: Correspondence between Bolton and Diane Watson regarding
  Pannek’s ethics complaint, the complaints or allegations against Gemrich, and any investigation into
  the same.

  You objected to this request, claiming that it is overly broad and not limited in time, and that it is
  vague and ambiguous as to the phrase “the complaints or allegations against Gemrich.” You then
  indicated that Defendant would produce emails between Bolton and Watson reflecting Pannek’s
  March 27, 2018 call to Defendant’s Ethics and Compliance Hotline.
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  Your response only partially answers the request. This request not only seeks correspondence
  regarding Mr. Pannek’s ethics complaint, but also any other complaints or allegations against
  Gemrich and investigations into the same.

  We also disagree with your objections. As indicated in Instruction No. 5, unless otherwise
  indicated the scope of the requests for production are from the start of Plaintiff’s employment to
  the present. Moreover, we disagree that “complaints or allegations against Gemrich” is vague and
  ambiguous given the clear context of the case, but to clarify this would include any and all
  complaints or allegations regarding inappropriate conduct, sexual harassment, discrimination,
  retaliation, or any bases similar to that which Plaintiffs complained about. Please produce
  responsive documents. To the extent you are refusing to produce responsive documents, please
  inform us of the same so that we can seek Court intervention.

          Once again, after you have reviewed the above please contact us no later than August 21,
  2020.

                                                Sincerely,

                                                STAGNARO, SABA
                                                & PATTERSON CO., L.P.A.



                                                Joshua M. Smith, Esq.




  JMS/hnr
  Enclosures
  Cc:    Peter A. Saba, Esq.
         Mark Pannek
         Thomas Strotman
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  MY DIRECT DIAL IS: 513-322-5029
  MY EMAIL ADDRESS IS: JAMIE.GOETZ-ANDERSON@JACKSONLEWIS.COM




                                                               November 17, 2020

  Via Email to jms@sspfirm.com
  Joshua M. Smith
  Stagnaro, Saba & Patterson
  2623 Erie Ave.
  Cincinnati, Ohio 45208

                                    RE       Mark Pannek, et al. v. U.S. Bank National Association
                                             Case No. 1:19-CV-00852

  Dear Josh:

         We are in receipt of your recent letter regarding Defendant U.S. Bank National
  Association’s (“U.S. Bank”) responses to your interrogatories and requests for production, and we
  appreciate the opportunity to address your concerns. U.S. Bank maintains that its objections and
  responses were proper under the Federal Rules. However, in an effort to resolve any discovery
  disputes, we provide the following responses:

          Interrogatories

          Interrogatory No. 2: As your letter acknowledges, U.S. Bank’s response to this
  interrogatory identified the individual who made the decision to eliminate Plaintiffs’ positions, and
  U.S. Bank maintains its objection that your request for the identity of anyone who was “involved
  in the decision to terminate Plaintiffs” is vague. Nonetheless, in order to resolve any dispute as to
  this interrogatory, U.S. Bank provides the following supplemental response: Bolton consulted
  with Human Resources Business Partner Diane Watson.

          Interrogatory No. 7: Although U.S. Bank provided the name of Plaintiffs’ most recent
  supervisor, it properly objected to this interrogatory to the extent that it sought information
  regarding Plaintiffs’ previous supervisors which are not relevant to Plaintiffs’ claims in this case.
  Your letter does not provide any explanation for how such information is or could be relevant to
  their claims. Subject to and without waiving its objections as to this interrogatory, U.S. Bank
  provides the following supplemental response: Pannek’s direct supervisors were as follows:
  8/28/2017 – 11/5/2017: Strotman; 11/5/2017 – 5/16/2018: Bolton. Strotman’s direct supervisors
  were as follows: 1/9/2017 – 10/1/2017: Michael Paul Ryan; 10/1/2017 – 11/5/2017: Gemrich;
  11/5/2017 – 5/16/2018: Bolton.
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                                                                                              Joshua M. Smith
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           Interrogatory No. 8, Request No. 37: U.S. Bank maintains its objection that the information
  sought in these discovery requests is overly broad and not proportionate to the needs of the case.
  Initially, you claim in your letter that “[p]rior acts of discrimination or retaliation . . . are relevant
  to Plaintiffs’ claims of discrimination and retaliation.” Even assuming arguendo that this assertion
  is true, however, that is not what you have requested in Interrogatory No. 8; rather, you have asked
  for allegations of such unlawful conduct without regard to whether such allegations were or were
  not ever substantiated. Moreover, your request is not limited to the claims asserted in this case,
  and you have provided no explanation or legal support for the notion that OCRC or EEOC charges
  alleging claims for race or disability discrimination, for example, possibly could be relevant to
  Plaintiffs’ claims for age discrimination, sexual harassment, or retaliation. Furthermore, any
  charges of discrimination involving anyone other than the relevant decisionmaker here are not
  relevant to Plaintiffs’ claims. Without waiving these objections, however, U.S. Bank provides the
  following supplemental response: Between January 1, 2016 and the date of Plaintiffs’
  terminations, there were no probable cause or adverse findings on any charge of sex
  discrimination/harassment, age discrimination, or retaliation from any individual at the Cincinnati
  office of the Consumer Banking Sales and Support business line.

           Interrogatory No. 9: This interrogatory asks U.S. Bank to identify every person who has
  called the Ethics Hotline for any reason for nearly the past five years. Although you purport that
  such information is relevant to Mr. Pannek’s retaliation claim, the interrogatory does not
  differentiate between Ethics Line complaints that involved allegations of unlawful harassment or
  discrimination (and thus could possibly be considered protected activity) and those that did not.
  Nor is it limited to complaints involving Bolton, the decisionmaker. Subject to and without
  waiving the foregoing objections, the attached supplemental production includes non-privileged
  documents reflecting Ethics and Compliance Hotline reports that U.S. Bank received relating to
  Gemrich involving allegations of sex discrimination/harassment, age discrimination, and/or
  retaliation.

         Interrogatory No. 10: See U.S. Bank’s response to Request Nos. 26, 27, and 38 and the
  associated supplemental production.

          Interrogatory No. 12: U.S. Bank provides the following supplemental response: Bolton
  began considering organizational changes within his organization, including eliminating Plaintiffs’
  positions, in January or February 2018. To the best of his recollection, Bolton made the final
  decision to eliminate Plaintiffs’ positions in late April or early May 2018.

           Interrogatory No. 15: This interrogatory asks U.S. Bank to identify every individual who
  “had any involvement” in the reorganization of U.S. Bank’s reorganization of the Lending Services
  and Mortgage Servicing Divisions in 2018. U.S. Bank properly objected to this request. Not only
  is the term “any involvement” vague, but the interrogatory itself seeks information that is neither
  relevant nor proportionate to the needs of the case. In its written responses and the documents
  produced, U.S. Bank has already identified Bryan Bolton as the individual who made the decision
  to eliminate Plaintiffs’ positions. Any personnel decisions that may have been made by his peers
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  in the new CBSS Servicing group with respect to their organizations are simply not relevant to
  Plaintiffs’ claims.

         Interrogatory No. 16, Request Nos. 28, 29, 30: U.S. Bank rejects your assertion that
  information regarding the reason for Gemrich’s separation of employment is relevant to this
  dispute. Nonetheless, in order to resolve any dispute, the attached supplemental production
  includes documents reflecting the decision to terminate Gemrich’s employment.


         Requests For Production

         Request Nos. 5, 20: As you noted, U.S. Bank has produced correspondence between
  Bolton and Gemrich regarding Plaintiffs’ roles following the 2018 reorganization. While we
  believe that this response is proper, and without waiving its objections, we have performed a
  reasonable search for correspondence Bolton sent to or received from Gemrich concerning the
  2018 reorganization that included the elimination of Plaintiffs’ positions. Any non-privileged,
  responsive documents that were located as part of that search are included in the attached
  supplemental production.

          Request No. 10: The job description produced is applicable to the positions held by
  Plaintiffs during the course of their employment with U.S. Bank.

          Request Nos. 23, 32, 33, 34, 35: In these requests, you have requested a number of
  personnel files, without any explanation for why or how these documents are relevant to the case.
  The request for complete personnel files is routinely prohibited by courts. See Craig-Wood v.
  Time Warner NY Cable, LLC, 2012 U.S. Dist. LEXIS 52790, at *7-8 (S.D. Ohio 2012) (“’Because
  of the extremely private nature of personnel files, courts generally do not order production of such
  files except upon a compelling showing of relevance by the requesting party.’”); Miller v. Federal
  Express Corp., 186 F.R.D. 376, 384 (W.D. Tenn. 1999) (“personnel records, because of the
  privacy interest involved, should not be ordered produced except upon a compelling showing of
  relevance”); Brune v. BASF Corp., Case No. C-1-97-811 (S.D. Ohio, Judge Dlott, Aug. 4, 1998)
  at 8 (“[A]ny time you get a personnel file, it’s an invasion of privacy. So you have to have a good
  reason to get it.”); Onwuka v. Federal Express Corp., 178 F.R.D. 508, 517 (D. Minn. 1997)
  (holding that only portions of personnel files that are clearly relevant to the plaintiff’s claims are
  open to disclosure); Raddatz v. The Standard Register Co., 177 F.R.D. 446, 447-48 (D. Minn.
  1997). Such requests are overbroad in that they include documents containing private confidential
  and personal information about nonparties including benefit information, garnishment
  information, medical information, date of birth and social security information. This is not
  corrected by a “non disclosure agreement.” See Raddatz, 177 F.R.D. at 447-48. As the court
  stated in Raddatz:

         In our considered view, the very act of disclosing an employee’s sensitive and
         personal data is a highly, and frequently, an unnecessarily intrusive act – whether
         or not that disclosure is governed by the terms of a Confidentiality Order. The
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         intrusiveness of the act rests in disclosure to anyone, and the fact that the
         information may not be openly publicized brings little comfort to the co-employee,
         whose most private confidences are needlessly divulged. In our view, to order the
         production of such non-party employees files – even under the restrictions of a
         Protective Order – is not a step which the Court should lightly undertake.

         At a minimum, before a Court compels the production of non-party personnel files,
         it should first be satisfied that the information in those files is, indeed, relevant. In
         this request, we agree that “[t]he mere fact that a person may be a witness in a case
         does not automatically warrant access to their personnel file.” Moreover,
         production of the files in their entirety should not be ordered where the relevant
         information may be obtained by resort to less intrusive means of discovery.

  Raddatz, 177 F.R.D. at 447-48 (internal citations omitted).

           Without waiving its objections, U.S. Bank will agree to review the personnel files of Bryan
  Bolton, Diane Watson, John Gemrich, and Alyson Roberts and produce from those files the
  following documents, to the extent that they exist: (1) performance evaluations; (2) disciplinary
  notices/warnings; (3) any complaints made about the individual. In addition, U.S. Bank confirms
  that it is not aware of any complaints of discrimination, harassment, or retaliation from the other
  two individuals from Bolton’s organization whose positions were eliminated at or around the time
  that Pannek and Strotman’s positions were eliminated, Rhonda Gombold and Matt Kobin.

         Please confirm that this compromise is agreeable, and if not, please provide an explanation
  as to why the complete files are necessary.

         Request No. 25: U.S. Bank is not aware of any disciplinary action given to Gemrich during
  his employment that was not included in U.S. Bank’s initial document production. Accordingly,
  no supplementation is required.

           Request Nos. 26, 27: As your correspondence acknowledges, U.S. Bank has produced
  responsive, non-privileged documents reflecting its investigation of Pannek’s March 27, 2018
  report to the Ethics and Compliance Hotline. Without waiving its objections, included in the
  supplemental production are documents reflecting complaints of discrimination, harassment, or
  retaliation received by U.S. Bank against Gemrich.

           Request No. 38: Without waiving its objections, U.S. Bank will produce responsive, non-
  privileged documents reflecting reports made to the Ethics and Compliance Hotline by any
  employees within Bolton’s reporting structure who alleged sex harassment/discrimination,
  retaliation, age discrimination, and/or Gemrich, to the extent that any exist.

         Request No. 39: US Bank properly objected to this request, which seeks documents or
  communications concerning complaints that were sent to “US Bank,” on the grounds that it is
  overly broad and not proportionate to the needs of the case. It does not identify any individual in
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  particular, and it is not feasible for U.S. Bank to review the correspondence of each of its tens of
  thousands of employees to determine if that person ever received a responsive complaint.

          Request No. 40: Initially, to the extent that this request seeks documents relating to the
  bank’s investigation of any EEOC/OCRC charge, such documents are protected by the attorney-
  client and/or work-product privileges. Furthermore, see the bank’s response to Interrogatory No.
  8 and Request No. 37.

         Request No. 42: U.S. Bank is not aware of a transcript or recording of Pannek’s March 27,
  2018 call to the Ethics and Compliance Hotline.

          Request No. 46: In your letter, you indicate that you are seeking “the email correspondence
  which, as referenced in Ms. Buster’s file, was sent berating Ms. Tatman and for which a complaint
  was filed.” Please provide the bates label of the document “in Ms. Buster’s file” to which you are
  referring, and U.S. Bank may reconsider its objection.

          Request No. 50: While we appreciate your clarification, complaints or allegations of
  “inappropriate conduct” or “any bases similar to that which Plaintiffs’ complained about” is vague
  and overly broad. Nonetheless, in an effort to resolve any dispute and consistent with your
  clarification of the documents sought in this request, we have performed a reasonable search for
  correspondence Bolton sent to or received from Watson concerning any allegations or complaints
  of sexual harassment, discrimination, or retaliation relating to Gemrich. Any non-privileged,
  responsive documents that were located as part of that search are included in the attached
  supplemental production.

           We trust that this correspondence resolves your concerns.

                                                       Very truly yours,
                                                       JACKSON LEWIS P.C.




                                                       Jamie M. Goetz-Anderson




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Jessica K. Peterson

From:                Goetz-Anderson, Jamie M. (Cincinnati) <Jamie.Goetz-Anderson@jacksonlewis.com>
Sent:                Tuesday, May 11, 2021 03:45 PM
To:                  Joshua M. Smith, Esq.
Cc:                  Pryor, Patricia Anderson (Cincinnati); Peter A. Saba, Esq.
Subject:             RE: Pannek and Strotman


Josh,

We have produced all performance reviews of which we are aware for Gemrich, Roberts, Pannek and Strotman.

We are not aware of a separate investigation of Gemrich in June 2018 beyond Kristin Fooks’ investigation that was done
in response to your letter and in anticipation of litigation. We have previously produced any ethics line complaints filed
against Gemrich, and we understand that you have subpoenaed the same documents from the third‐party ethics line
provider (which, we note, you have not yet produced to us). We produced the full instant message conversation
between Little and Bolton on 4/26/19 and we are not aware of any additional communications, nor do we agree with
your contention that anything in the messages suggest that Bolton is “responding to messages” from Little.

Finally, we maintain our objection to your request for the full investigation file relating to the 2019 investigation of
Gemrich. Although we have consistently maintained that this information is not relevant to Plaintiffs’ claims in this
action, as a good‐faith effort to resolve any discovery dispute we have produced the investigation report and other
documents which detail the allegations made against Gemrich and the reason for his termination. We will not agree to a
continued fishing expedition regarding events or complaints that occurred long after your clients were terminated and
that had nothing to do with them.

Jamie




Jamie M. Goetz‐Anderson
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From: Joshua M. Smith, Esq. <JMS@sspfirm.com>
Sent: Monday, May 10, 2021 6:14 PM
To: Goetz‐Anderson, Jamie M. (Cincinnati) <Jamie.Goetz‐Anderson@jacksonlewis.com>
Cc: Pryor, Patricia Anderson (Cincinnati) <Patricia.Pryor@jacksonlewis.com>; Peter A. Saba, Esq. <PAS@sspfirm.com>
Subject: RE: Pannek and Strotman


[EXTERNAL SENDER]
                                                            1
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In addition to my e‐mail below, based upon our review of the additional documents you produced on April 26, 2021 we
are noting at least two further deficiencies:

        You produced what appears to be an e‐mail from Robin Dunivan to Bryan Bolton dated March 22, 2019
         (USBANK__000966). The e‐mail provides a “timeline” which makes reference to an “ethics investigation” on
         June 7, 2018 regarding Gemrich and employees filing complaints against him for “comments made on the floor.”
         We have not received any documents related to this investigation, nor am I aware of any deponents testifying to
         this investigation. We have clearly (and repeatedly) asked for all documents pertaining to US Bank’s
         investigation of, or response to, complaints regarding Gemrich. (See RFP 26‐27). Please produce all documents
         relating to the ethics investigation referenced in this e‐mail.

        You produced what appears to be an instant message conversation between Bryan Bolton and David Little on
         April 26, 2019 relating to Gemrich’s termination (USBANK__000994). However, the document does not include
         any of the instant messages sent by David Little. Mr. Bolton’s messages indicate that he is responding to
         messages from Mr. Little. Please produce the entirety of the conversation.

Please also produce these documents by Wednesday.



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From: Joshua M. Smith, Esq.
Sent: Monday, May 10, 2021 6:00 PM
To: Goetz‐Anderson, Jamie M. (Cincinnati) <Jamie.Goetz‐Anderson@jacksonlewis.com>
Cc: Pryor, Patricia Anderson (Cincinnati) <Patricia.Pryor@jacksonlewis.com>
Subject: RE: Pannek and Strotman

Jamie,

Thank you for sending, but the vast majority of these documents are not at all responsive to the deficiencies we’ve noted.
In particular:

1. All performance reviews not previously produced for Thomas Strotman, Mark Pannek, Alyson Roberts,
and John Gemrich (See RFP 9, 11, 17, 23‐24, 29, 34, 48)

        The performance review that was “produced” for Mark Pannek (USBANK__000017) is completely
         blank.

                                                              2
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         We do not appear to have any performance reviews for Tom Strotman at all.
         We are missing performance reviews for John Gemrich for years 2009‐2010 and 2012‐2013, and
          performance reviews for 2017‐2018 (USBANK__000241) are completely blank.
         For Alyson Roberts, you produced what appear to be performance reviews for 2019‐2020, but we still
          do not have performance reviews for 2017 or 2018.

5. Any and all documents related to the investigation which resulted in the termination of John Gemrich.
This includes but is not at all limited to all the documents referenced in the Complaint Resolution Form
(See RFP 25‐30)

         There are clearly documents attached to the Investigation Resolution Form as part of the 2019 CIT
          Investigation resulting in Gemrich’s termination. They are referenced and shown as attachments on
          USBANK__000819. Please produce them.
         Please produce any other documents related to the investigation resulting in Gemrich’s termination.

Please produce the documents immediately, but no later than Wednesday, May 12, 2021. We noted these
deficiencies (and others) nearly a month ago now.



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From: Goetz‐Anderson, Jamie M. (Cincinnati) <Jamie.Goetz‐Anderson@jacksonlewis.com>
Sent: Monday, May 10, 2021 2:34 PM
To: Joshua M. Smith, Esq. <JMS@sspfirm.com>
Cc: Pryor, Patricia Anderson (Cincinnati) <Patricia.Pryor@jacksonlewis.com>
Subject: Pannek and Strotman

Josh:

Attached please find U.S. Bank’s supplemental document review and amended initial disclosures.

Thanks,
Jamie

Jamie M. Goetz‐Anderson

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                                                                     Peer Group Analysis
                                                                      Reduction in Force
                                  **To Be Completed By Management After Completion of Skills Inventory**
Tom Strotman

Position: Vice President Strategic Initiatives /Chg Mgt/RCSA
Grade: 17

                                                                                                                                                         SCORE




Experience                                              20+ years       15-20 years      10-15 years       5-10 years          <5 years

How long has this employee been employed in                 5                4                3                 2                  1                       5
a relevant field or position?




Licenses/Certifications Relevant to Position            [Name of License]                     [Name of License]
                                                           Yes              No               Yes             No
                                                            1                0                1               0                   N/A                      0


Position-Related Skills

Minimum Skills Required*
1. Technical Capability/Substantive Knowledge               4                3                2                 1                  0                       4
2. Quality of Work Product                                  4                3                2                 1                  0                       3
3. Quantity of Work Product                                 4                3                2                 1                  0                       3
4. Cross-Functional Expertise                               4                3                2                 1                  0                       3
5. Additional Skill to be Used as Needed                    4                3                2                 1                  0                       3


Performance Rating                                      "1" Rating       "2" Rating       "3" Rating       "4" Rating          "5" Rating          N/A

How was the employee rated on his/her most                  4                3                2                 1                  0                0      2
recent performance review?

(if no performance review within the previous six
(6) months, complete mini-review and record the
Overall Job Performance rating in this section)

                                                                                                                           TOTAL SCORE                    23

Prepared by: Bryan Bolton                           Date:              Written Disciplinary Action within prior 12 mos.        Yes No       Date
Phone Number: 314 702-9588                                             Written Warning                                           NA
                                                                       Action Plan                                        NA




                                                                                                                                  USBANK_000047
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                                                                     Peer Group Analysis
                                                                      Reduction in Force
                                  **To Be Completed By Management After Completion of Skills Inventory**
Rhonda Gombold

Position: Vice President Change Mgt
Grade: 16

                                                                                                                                                         SCORE




Experience                                              20+ years       15-20 years      10-15 years       5-10 years          <5 years

How long has this employee been employed in                 5                4                3                 2                  1                       5
a relevant field or position?




Licenses/Certifications Relevant to Position            [Name of License]                     [Name of License]
                                                           Yes              No               Yes             No
                                                            1                0                1               0                   N/A                      0


Position-Related Skills

Minimum Skills Required*
1. Technical Capability/Substantive Knowledge               4                3                2                 1                  0                       4
2. Quality of Work Product                                  4                3                2                 1                  0                       2
3. Quantity of Work Product                                 4                3                2                 1                  0                       2
4. Cross-Functional Expertise                               4                3                2                 1                  0                       3
5. Additional Skill to be Used as Needed                    4                3                2                 1                  0                       3


Performance Rating                                      "1" Rating       "2" Rating       "3" Rating       "4" Rating          "5" Rating          N/A

How was the employee rated on his/her most                  4                3                2                 1                  0                0      2
recent performance review?

(if no performance review within the previous six
(6) months, complete mini-review and record the
Overall Job Performance rating in this section)

                                                                                                                           TOTAL SCORE                    21

Prepared by: Bryan Bolton                           Date:              Written Disciplinary Action within prior 12 mos.        Yes No       Date
Phone Number: 314 702-9588                                             Written Warning                                           NA
                                                                       Action Plan                                        NA




                                                                                                                                  USBANK_000048
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                                                                    USBANK_000956
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                                                                    USBANK_000957
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                                                                    USBANK_000958
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                                                                                        USBANK_000965
